      Case 5:19-cv-02311-JWH-ADS Document 14 Filed 06/03/20 Page 1 of 3 Page ID #:181


      1   Aaron A. Falls

      2   CSP Solano Lvl III / Fac. A-6-125Low

  3       P O Box 4000, 2100 Peabody Rd
                                                                 EJ.B~ D[STRICT COURT
  4       V acaville, CA 95696

  5       #BH6927                                               ,~ — ~ 202n
  6
                                                                 DISTRICT OF CALIFORNIA

          U NITED STATES DISTRICT COURT

               CENTRAL DISTRICT OF CALIFORNIA



 10       Plaintiff Aaron A. Falls

11                    v

12        D efendant County of Riverside ET.AL.

13

14                                          C ase# 5:19-CV-02311-JLS-ADS
15                                          EX PARTE
16                                          M OTION TO REQUEST TIME
17                                          D UE TO COVID-19; Restrictions
18                                          a nd use of law library
19

20        Plaintiff is requesting an additional 30 days to fully round out

21        t he courts request for plaintiff to ammend complaint. Due to

22        COVID-19 Restrictions CSP Solano has run an extremely modified

23        p rogram for all ativities inluding Law Library and access to it.

24        Based on the unavailability to case law, Plaintiff requests a 30

25        d ay extension.

26

27
                                                                 Aaron Falls #BH6927
~:3
                                                                  Dated May 24, 2020


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   Case 5:19-cv-02311-JWH-ADS Document 14 Filed 06/03/20 Page 2 of 3 Page ID #:182
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AARON~A.FALLS #BH6927
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PO BOX 9000, A-6 125 L                                                                                          o.mar      _


VACAVILLE CA. 95696                                                                                             ;
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                                    UNITED STATES DISTRICT COURT
                                -     ~     CENTRIYL DIVISION
                          EDWARD R.  ROYBAL  FEDERAL BLDG. 8 US COURT

                                  255EAST TEMPLE STREET

                               . LOS ANGELES CA. 90012




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